Case 2:11-cr-20129-RHC-EAS ECF No. 1060, PageID.5222 Filed 10/24/14 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                              Criminal No. 2:11-cr-20129
                     Plaintiff,
                                              Honorable Robert H. Cleland
 vs.

 D-1, SCOTT WILLIAM SUTHERLAND,

                Defendant.
 ________________________________/

                    PRELIMINARY ORDER OF FORFEITURE


       WHEREAS, a First Superseding Indictment was filed on or about May 5,

 2011, which charged Defendant Scott William Sutherland (“Defendant”) with

 violating 18 U.S.C. § 922(g)(1), and provided notice that the Government sought

 criminal forfeiture of all firearms and ammunition involved in Defendant’s

 violation, pursuant to 18 U.S.C. § 924(d) together with 28 U.S.C. § 2461(c).

       WHEREAS, on October 4, 2011, Defendant entered into a Rule 11 Plea

 Agreement wherein he pled guilty to violating 18 U.S.C. § 922(g) as alleged in

 Count One of the First Superseding Indictment and agreed to forfeit to the United

 States the following items as property involved in Defendant’s violation of 18

 U.S.C. § 922(g):

       a.    One (1) Llama Parabellum, 9MM Semi-Automatic Pistol,
             Serial No: B44382;
Case 2:11-cr-20129-RHC-EAS ECF No. 1060, PageID.5223 Filed 10/24/14 Page 2 of 5




       b.     One (1) Bushmaster XM 15-E25 Rifle, Serial No: L206664 with
              Magazine, 223 Caliber, with black White Tail 30MM sight,
              Serial No: 800836; and

       c.     Twenty-Nine (29) Rounds of 223 Ammunition

 (hereinafter referred to as the “Subject Property”).

       WHEREAS, Defendant also agreed in his Plea Agreement to the Court’s

 entry of a Preliminary Order of Forfeiture incorporating the forfeiture of the

 Subject Property.

       NOW, THEREFORE, pursuant to 18 U.S.C. § 924(d) together with 28

 U.S.C. § 2461(c) and Fed.R.Crim.P. 32.2, and based upon Defendant’s guilty plea

 to Count One of the First Superseding Indictment, the contents of Defendant’s

 Rule 11 Plea Agreement, the Government’s Application for Entry of Preliminary

 Order of Forfeiture, and other information in the record, IT IS HEREBY

 ORDERED, ADJUDGED AND DECREED THAT

    1. The Subject Property IS HEREBY FORFEITED to the United States for

       disposition in accordance with the law, and any right, title or interest of

       Defendant in such property IS HEREBY AND FOREVER

       EXTINGUISHED.

    2. Based upon the information and agreements contained in Defendant’s Rule

       11 Plea Agreement, and other information in the record, there is a sufficient

       nexus between the Subject Property and Defendant’s offense, and therefore,
                                           2
Case 2:11-cr-20129-RHC-EAS ECF No. 1060, PageID.5224 Filed 10/24/14 Page 3 of 5




       the Subject Property is forfeitable to the United States pursuant to 18 U.S.C.

       § 924(d) together with 28 U.S.C. § 2461(c).

    3. This Order shall become final as to Defendant at the time he is sentenced.

    4. The forfeiture of the Subject Property shall be made part of Defendant’s

       sentence and included in Defendant’s Judgment, and this Preliminary Order

       of Forfeiture shall be incorporated by reference in the Judgment.

    5. Upon entry of this Preliminary Order of Forfeiture, the United States

       Attorney General or his designee is authorized to commence any applicable

       proceeding to comply with the statutes governing third party rights,

       including giving notice of this Order.

    6. Pursuant to 21U.S.C. § 853(n), the United States shall publish notice of this

       Preliminary Order of Forfeiture and of its intent to dispose of the Subject

       Property in such manner as the Attorney General may direct on

       www.forfeiture.gov for at least thirty (30) consecutive days. Said notice

       shall direct that any person, other than the Defendant, asserting a legal

       interest in the Subject Property, may file a petition with the Court within

       thirty (30) days of the final publication of notice or of receipt of actual

       notice, whichever is earlier. The petition shall be for a hearing before the

       Court alone, without a jury and in accordance with 21 U.S.C. § 853(n), to

       adjudicate the validity of the petitioner’s alleged interest in the Subject


                                            3
Case 2:11-cr-20129-RHC-EAS ECF No. 1060, PageID.5225 Filed 10/24/14 Page 4 of 5




       Property. Pursuant to 21 U.S.C. § 853(n), any petition filed by a third party

       asserting an interest in the Subject Property must be signed by the petitioner

       under penalty of perjury and must set forth the nature and extent of the

       petitioner’s alleged right, title or interest in the Subject Property, the time

       and circumstances of the petitioner’s acquisition of the right, title, or interest

       in the Subject Property, any additional facts supporting the petitioner’s

       claim, and the relief sought. Pursuant to 21 U.S.C. § 853(n), the United

       States may also, to the extent practicable, provide direct written notice to

       any person or entity known to have an alleged interest in the Subject

       Property.

    7. The United States is hereby authorized, pursuant to 21 U.S.C. § 853(n) and

       Federal Rules of Criminal Procedure 32.2 (c), to conduct any discovery in

       the ancillary proceeding in accordance with the Federal Rules of Civil

       Procedure upon a showing that such discovery is proper and desirable.

    8. Pursuant to 21 U.S.C. § 853(n), following the Court’s disposition of any

       petitions for ancillary hearing, or, if none, following the expiration of the

       period provided in 21 U.S.C. § 853(n) for the filing of third party petitions,

       the United States shall have clear title to the Subject Property, all other

       interests in the Subject Property shall be FORFEITED to the United States,

       this Order shall become the Final Order of Forfeiture as provided by Federal


                                            4
Case 2:11-cr-20129-RHC-EAS ECF No. 1060, PageID.5226 Filed 10/24/14 Page 5 of 5




       Rule of Criminal Procedure 32.2(c)(2), and the United States shall be

       authorized to dispose of the Subject Property as prescribed by law.

    9. The Court retains jurisdiction to enforce this Order, and to amend it as

       necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

       IT IS SO ORDERED.



                                        s/Robert H. Cleland
 Dated: October 24, 2014                HONORABLE ROBERT H. CLELAND
                                        United States District Judge




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